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                          EXHIBIT 6
3/27/2015                              New Coffee 35 K­Cups Pods Carousel Storage Holder Rack Organizer K Cups Cup
                         CASE 0:15-cv-02566-SRN-FLN            Document 1-6 Filed 05/27/15 Page 2 of 3
  YOU ARE HERE: Home               New Coffee 35 K­Cups Pods Carousel Storage Holder Rack Organizer K Cups Cup




                                                                                            New Coffee 35 K­Cups Pods Carousel Storage Holder
                                                                                            Rack Organizer K Cups Cup

                                                                                            Be the first to review this product       FDS # :HW47457

                                                                                            Availability: In stock




                                                                                            $16.95                                                                 ADD TO CART


                                                                                            Quantity:            0
                                                                                                                                                                   BUY NOW



                                                                                                                                                                 ADD TO FAVOURITES




                                                                                            This Is Our 35 K­Cups Pod Carousel, Which Allow Everyone To Easily Choose Their Desired

                                                                                            Flavor.




         Specifications


       Color: Black

       Material: High Grade Steel Powder­Coat Finish

       Dimensions:13”(H) ×7”Dia

       Weight :3.53lbs

       Package Size:15”×8”×8”(L×W×H) Package Include:

       1×35 K­Cups Pod Carousel




        Product Details              Customer reviews


              Brand New And High Quality

              Holds 35 Cups Portion Packs For The Single Serve Brewing System(Cups Portion Packs Not Included)

              Sttin Black Finish

              Base Rotative For Easy Access

              For Decorative And Indoor Use Only




  Connect with us:                              Featured Partners:                                                                                     Input keywords



  Company Info                              Custoner Service                        Payment & Shipping                  Company Policies                    Delivery Manager

  About Us                                  Custoner Service                        Payment Methods                     Return Policy
  Location & Working Hours                  Contact Us                              Shipping Guide                      Privacy Policy

http://www.factorydirectsale.com/new­coffee­35­k­cups­pods­carousel­storage­holder­rack­organizer­k­cups­cup.html                                                              1/2
3/27/2015                             New Coffee 35 K­Cups Pods Carousel Storage Holder Rack Organizer K Cups Cup
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  Site Map                                 Track Your Order                           Locations We Ship To      Terms Of Use
  Our Guarantee                            Halp Page And Knowledge Base               Estimated Delivery Time



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